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 5                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 6                                         AT SEATTLE

 7   CHARLOTTE WINELAND, Individually,                         Case No. 2:19-cv-00793-RSL
     and SUSAN WINELAND, as Personal
 8   Representative of the Estate of JOHN DALE                 STIPULATED MOTION AND ORDER TO
     WINELAND, Deceased,                                       CONTINUE DEFENDANT PUGET SOUND
 9                                                             COMMERCE CENTER, INC.’S DAUBERT
                             Plaintiffs,                       MOTION TO EXCLUDE EXPERT
10                                                             TESTIMONY OF CAPTAIN ARNOLD
             vs.                                               MOORE; STEVEN PASKAL, CIH; DAVID
11                                                             ZHANG, M.D.; AND CHARLES AY
     AIR & LIQUID SYSTEMS CORPORATION,
12     et al.

13                           Defendants.

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15                                             STIPULATION

16           Plaintiffs Charlotte Wineland and Susan Wineland (“Plaintiffs”) asked Defendant Puget

17   Sound Commerce Center, Inc. (“PSSC”) for additional time to respond to PSCC’s Daubert Motion

18   to Exclude Expert Testimony of Captain Arnold Moore; Steven Paskal, CIH; David Zhang, M.D.;

19   and Charles Ay, presently noticed for consideration on September 25, 2020. PSSC is amenable to

20   the extension.

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     STIPULATED MOTION AND ORDER TO CONTINUE      FROST LAW FIRM, PC                     WEINSTEIN CAGGIANO PLLC
                                                            273 West 7th Street                  600 University Street, Suite 1620
     DEFENDANT PUGET SOUND COMMERCE CENTER,                San Pedro, CA 90731                 SEATTLE, WASHINGTON 98101
                                               PH: (866) FLF-MESO; FAX: (833) FLF-MESO    (206) 508-7070 - FACSIMILE (206) 237-8650
     INC.’S DAUBERT MOTION TO EXCLUDE EXPERT
     TESTIMONY - 1
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 1           Plaintiffs and Defendant hereby stipulate to continue the current note on motion calendar

 2   to October 9, 2020; Plaintiffs’ Opposition shall be due per code on October 5, 2020; and

 3   Defendant’s Reply shall be due per code on October 9, 2020.

 4          DATED this 25th day of September 2020.

 5

 6                                                    FROST LAW FIRM, PC

 7                                                    /s/ Andrew Seitz
                                                      Andrew Seitz, CA Bar No. 273165
 8                                                    Admitted Pro Hac Vice
                                                      Scott L. Frost, WSBA No. 54685
 9                                                    273 West 7th Street
                                                      San Pedro, CA 90731
10                                                    Tel: (866) FLF-MESO
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11
                                                      WEINSTEIN CAGGIANO PLLC
12                                                    Brian D. Weinstein, WSBA No. 24497
                                                      Alexandra B. Caggiano, WSBA No. 47862
13                                                    600 University Street, Suite 1620
                                                      Seattle, Washington 98101
14                                                    Telephone: (206) 508-7070
                                                      Facsimile: (206) 237-8650
15                                                    Attorneys for Plaintiffs

16                                                    TANENBAUM KEALE LLP

17
                                                      _/s/ Christopher S. Marks_________
18                                                    Christopher S. Marks
                                                      Tanenbaum Keale LLP
19                                                    One Convention Place
                                                      701 Pike Street, Suite 1575
20                                                    Seattle, WA 98101
                                                      (206) 227-5744
21                                                    Attorneys for Puget Sound Commerce Center, Inc.

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     INC.’S DAUBERT MOTION TO EXCLUDE EXPERT
     TESTIMONY - 2
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 1                                                    ORDER

 2           Based on the foregoing Stipulation of the Parties, it is hereby ORDERED that the Daubert
 3   Motion to Exclude Expert Testimony of Captain Arnold Moore; Steven Paskal, CIH; David Zhang,
 4   M.D.; and Charles Ay shall be re-noted to October 9, 2020.
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 6
            Dated this 28th day of September, 2020.
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 8
                                               ROBERT S. LASNIK
 9                                             UNITED STATES DISTRICT JUDGE

10
     Presented by:
11   /s/ Andrew Seitz___         ___9/25/2020
     Plaintiffs Counsel             Date
12

13   /s/ Christopher S. Marks_____9/25/2020
     Defendant Puget Sound Commerce Center, Inc.
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     STIPULATED MOTION AND ORDER TO CONTINUE        FROST LAW FIRM, PC                     WEINSTEIN CAGGIANO PLLC
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     INC.’S DAUBERT MOTION TO EXCLUDE EXPERT
     TESTIMONY - 3
